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        ï   ÔßÉÎÛÒÝÛ Ùò ÞÎÑÉÒ
            ß½¬·²¹ Ë²·¬»¼ Í¬¿¬»- ß¬¬±®²»§
        î   ÕÇÔÛ ÎÛßÎÜÑÒ
            ß--·-¬¿²¬ ËòÍò ß¬¬±®²»§
        í   ëðï × Í¬®»»¬ô Í«·¬» ïðóïðð
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                                           ÷             ßÒÜ ÛÈÝÔËÜ×ÒÙ Ì×ÓÛ
       ïì   ÎßÔÑÒÜÎ×ß ÍÌßÚÚÑÎÜô            ÷
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       ïê
       ïé         ×Ì ×Í ØÛÎÛÞÇ ÍÌ×ÐËÔßÌÛÜ ¾§ ¿²¼ ¾»¬©»»² ß--·-¬¿²¬ Ë²·¬»¼ Í¬¿¬»-
       ïè   ß¬¬±®²»§ Õ§´» Î»¿®¼±²ô ½±«²-»´ º±® ¬¸» °´¿·²¬·ººô ¿²¼ Ö±¸² Ó¿²²·²¹ô
       ïç   ½±«²-»´ º±® ¬¸» ¼»º»²¼¿²¬ô ¬¸¿¬ ¹±±¼ ½¿«-» »¨·-¬- ¬± »¨¬»²¼ ¬¸»
       îð   °®»´·³·²¿®§ ¸»¿®·²¹ ½«®®»²¬´§ -»¬ º±® Ó±²¼¿§ô Ö¿²«¿®§ îêô îððçô ¿¬
       îï   îæðð °ò³ò ¬± Ì«»-¼¿§ô Ú»¾®«¿®§ íô îððçô ¿¬ îæðð °ò³òô °«®-«¿²¬ ¬±
       îî   Ú»¼»®¿´ Î«´» ±º Ý®·³·²¿´ Ð®±½»¼«®» ëòïø¼÷ò            Ì¸·- ·- ¬¸» º·®-¬
       îí   ®»¯«»-¬ ¾§ ¬¸» °¿®¬·»- º±® ¿² »¨¬»²-·±² ±º ¬·³» º±® ¬¸» °®»´·³·²¿®§
       îì   ¸»¿®·²¹ò
       îë         Ù±±¼ ½¿«-» »¨·-¬- ¬± »¨¬»²¼ ¬¸» ¬·³» º±® ¬¸» °®»´·³·²¿®§
       îê   ¸»¿®·²¹ ©·¬¸·² ¬¸» ³»¿²·²¹ ±º Î«´» ëòïø¼÷ ¾»½¿«-» ³±®» ¬·³» ©·´´
       îé   °»®³·¬ ¬¸» °¿®¬·»- ¬± °»®º±®³ ¿¼¼·¬·±²¿´ ·²ª»-¬·¹¿¬·±²ô »ª¿´«¿¬» ¬¸»
       îè   »ª·¼»²½» ·² ¬¸·- ½¿-»ô ¿²¼ ¼·-½«-- ¿ °±--·¾´» °®»ó·²¼·½¬³»²¬

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        ï   ®»-±´«¬·±²ò
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        ì   Ì®·¿´ ß½¬ ¾»½¿«-» ±º ¬¸» ²»»¼ º±® ¿¼¼·¬·±²¿´ ·²ª»-¬·¹¿¬·±²ò              ß- ¿
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        ê   «²¼»® Ô±½¿´ Ý±¼» Ìì ¬± ¿´´±© ¿ ®»¿-±²¿¾´» ¬·³» ¬± °®»°¿®»ò               ïè
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        è                                                Î»-°»½¬º«´´§ Í«¾³·¬¬»¼ô
        ç                                                ÔßÉÎÛÒÝÛ Ùò ÞÎÑÉÒ
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                                                         ÕÇÔÛ ÎÛßÎÜÑÒ
       ïî                                                ß--·-¬¿²¬ ËòÍò ß¬¬±®²»§
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            Ü¿¬»¼æ Ö¿²«¿®§ îïô îððç                       ñ-ñ Õ§´» Î»¿®¼±² º±®
       ïì                                                ÖÑØÒ ÓßÒÒ×ÒÙ
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        ï                                          ÑÎÜÛÎ
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        í   ±º ¬¸» °¿®¬·»-ô ×Ì ×Í ØÛÎÛÞÇ ÑÎÜÛÎÛÜ ¬¸¿¬æ
        ì         ïò    Ì¸» Ý±«®¬ º·²¼- ¹±±¼ ½¿«-» ¬± »¨¬»²¼ ¬¸» Ð®»´·³·²¿®§
        ë   Ø»¿®·²¹ ½«®®»²¬´§ -»¬ º±® Ó±²¼¿§ô Ö¿²«¿®§ îêô îððçô ¿¬ îæðð °ò³òô ¬±
        ê   Ì«»-¼¿§ô Ú»¾®«¿®§ íô îððçô ¿¬ îæðð °ò³òô °«®-«¿²¬ ¬± Ú»¼»®¿´ Î«´» ±º
        é   Ý®·³·²¿´ Ð®±½»¼«®» ëòïø¼÷å
        è         îò    Þ¿-»¼ «°±² ¬¸» ¿¾±ª» ®»°®»-»²¬¿¬·±²- ¿²¼ -¬·°«´¿¬·±² ±º
        ç   ¬¸» °¿®¬·»-ô ¬¸» Ý±«®¬ º«®¬¸»® º·²¼- ¬¸¿¬ ¬¸» »²¼- ±º ¶«-¬·½»
       ïð   ±«¬©»·¹¸ ¬¸» ¾»-¬ ·²¬»®»-¬ ±º ¬¸» °«¾´·½ ¿²¼ ¬¸» ¼»º»²¼¿²¬ ·² ¿
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       ïî   »¨½´«¼»¼ ¬¸®±«¹¸ Ì«»-¼¿§ô Ú»¾®«¿®§ íô îððçò
       ïí         ×Ì ×Í ÍÑ ÑÎÜÛÎÛÜò
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       ïê                                               ñ-ñ Ù®»¹±®§ Ùò Ø±´´±©-
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